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8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    2:04-cr-0205-GEB
12                   Plaintiff,        )
                                       )
13             v.                      )    TRANSMISSION TO PARTIES
                                       )    OF TRIAL DOCUMENTS
14   THA BUN HENG; CHOM MAO; and       )
     CLEVIE EARL BUCKLEY, JR.,         )
15                                     )
                     Defendants.       )
16                                     )
                                       )
17
18             Attached are draft voir dire questions, jury instructions,
19   and verdict forms.
20   DATED: November 30, 2006
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22                                              GARLAND E. BURRELL, JR.
                                                United States District Judge
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